              Case 18-15691-CMG                   Doc 1      Filed 03/23/18 Entered 03/23/18 12:28:13                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                American Center for Civil Justice, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  216 River Ave                                                  216 River Ave
                                  Ste 110                                                        Ste 110
                                  Lakewood, NJ 08701-4807                                        Lakewood, NJ 08701-4807
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Ocean                                                          Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 216 River Ave Ste 110 Lakewood, NJ 08701-4807
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor
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          American Center for Civil Justice, Inc.
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                541110

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

                                        Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                 and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                            Case number
                                                District                                  When                            Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                   Relationship
                                                District                                  When                           Case number, if known




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Debtor
                                                             Document      Page 3 ofCase
                                                                                     15 number (if known)
         American Center for Civil Justice, Inc.
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                     5001-10,000                                50,001-100,000
                                 50-99
                                 100-199                                         10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50  million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50      million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor
                                                               Document      Page 4 ofCase
                                                                                       15 number (if known)
          American Center for Civil Justice, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       March 23, 2018
                                                    MM / DD / YYYY


                              X   /s/ Elie Perr                                                                Elie Perr
                                  Signature of authorized representative of debtor                             Printed name

                                  Title   President




18. Signature of attorney     X   /s/ Timothy P. Neumann Esq                                                    Date March 23, 2018
                                  Signature of attorney for debtor                                                   MM / DD / YYYY

                                  Timothy P. Neumann Esq
                                  Printed name

                                  Broege, Neumann, Fischer & Shaver LLC
                                  Firm name


                                  25 Abe Voorhees Dr
                                  Manasquan, NJ 08736-3560
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (732) 223-8484x210              Email address        tneumann@bnfsbankruptcy.com

                                  TN 6429
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name American Center for Civil Justice, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY,                                                                                 Check if this is an
                                               TRENTON DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 American Center for                                                                                                                                               $14,818,844.00
 Civil Justice Religi           perr@acenter.us
 125 Half Mile Rd Ste
 200
 Red Bank, NJ
 07701-6749
 Avi Elishis                    Robert Tolchin                                         Disputed                                                                     $5,675,175.81
 68 Westminster Ave
 Bergenfield, NJ                rtolchin@bermanla
 07621-3916                     w.com
 Chad Holland                                                                                                                                                                    $0.00
 371 Patrick St Apt
 11D
 Clarksville, TN
 37040-2970
 Diamond Reporting                                                                                                                                                         $5,675.40
 16 Court St
 Brooklyn, NY                   (718) 624-7200
 11241-0102
 Diana Compuzano                Robert Tolchin                                         Disputed                                                                     $8,955,215.67
 158 W 84th St Apt
 2A                             rtolchin@berkmanl
 New York, NY                   aw.com
 10024-4625
 Donna Marie                                                                                                                                                                     $0.00
 Holland
 578 Ratchford Dr
 Clarksville, TN
 37042-6260
 Eli Ezer Perr                                                                                                                                                         $320,171.80
 63 Hedge Dr                    ez@acenter.us
 Lakewood, NJ
 08701-2424




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    American Center for Civil Justice, Inc.                                                           Case number (if known)
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Gerald Welsh                                                                                                                                                                    $0.00
 38695 SE Trout
 Creek Rd
 Corbett, OR
 97019-8700
 Gregg Salzman                  Robert Tolchin                                         Disputed                                                                     $4,725,028.02
 10 Tremblay Rd
 East Brunswick, NJ             rtolchin@berkmanl
 08816-4563                     aw.com
 James Holland                                                                                                                                                                   $0.00
 241 Military Rd
 Herndon, KY
 42236-8301
 Joshua Ambush                                                                         Disputed                                                                                  $0.00
 600 Reisterstown               joshua@ambushla
 Rd                             w.com
 Pikesville, MD
 21208-5104
 Koffsky Schwalb,                                                                                                                                                      $321,382.07
 LLC                            eschwalb@koffsky
 349 5th Ave Ste 733            schwalb.com
 New York, NY
 10016-5019
 Loeb & Loeb, LLP                                                                                                                                                      $150,000.00
 901 New York Ave               mowens@loeb.co
 NW Ste 300                     m
 Washington, DC
 20001-4432
 Lourdes L. Morena                                                                                                                                                       $20,000.00
 Ledon
 2900 Carr 834 Villa
 Guaynabo, PR
 00971-9312
 Michael Welsh                                                                                                                                                                   $0.00
 30 Rena St SW
 Grand Rapids, MI
 49507-1520
 Neal Sher                                                                                                                                                               $12,500.00
 115 E 92nd St # 7F             nealsher@gmail.co
 New York, NY                   m
 10128-1688
 Professor Dan                                                                                                                                                           $25,000.00
 Sarooshi                       dsarooshi@essexc
 Essex Court                    ourt.net
 Chambers
 24 Lincoln's End
 Fields
 London, UK WC2A
 -3EG




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    American Center for Civil Justice, Inc.                                                           Case number (if known)
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Professor Roy D.                                                                                                                                                        $37,086.00
 Simon                          roy.d.simon@gmai
 205 W End Ave Apt              l.com
 8N
 New York, NY
 10023-4819
 Tory's LLP                                                                                                                                                            $120,000.00
 79 Wellington St W             switmore@tory's.c
 Ste 3000                       om
 Toronto, ON
 M5K-1N2
 Weinreb Law Firm,                                                                                                                                                     $181,395.00
 PLLC                           eweinreb@weinreb
 1225 Franklin Ave              law.com
 Ste 325
 Garden City, NY
 11530-1693




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                            District of New Jersey, Trenton Division
 In re       American Center for Civil Justice, Inc.                                                         Case No.
                                                                              Debtor(s)                      Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                  1,730.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          600.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                    Debtor        Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Debtor has agreed to pay post-petition retainer of $15,000 subject to approval of the Bankruptcy Court

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the Debtor(s) in an adversary proceeding, contested motion, additional appearances before
               the Trustee after the initial meeting of creditors, or at an examination of the Debtor(s) or others pursuant to
               Bankruptcy Rule 2004 which services shall be billed at normal hourly rates.




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 In re       American Center for Civil Justice, Inc.                                                Case No.
                                                             Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 23, 2018                                                           /s/ Timothy P. Neumann Esq
     Date                                                                     Timothy P. Neumann Esq
                                                                              Signature of Attorney
                                                                              Broege, Neumann, Fischer & Shaver LLC

                                                                              25 Abe Voorhees Dr
                                                                              Manasquan, NJ 08736-3560
                                                                              (732) 223-8484x210 Fax: (732) 223-2416
                                                                              tneumann@bnfsbankruptcy.com
                                                                              Name of law firm




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                                                                                                                  United States Bankruptcy Court
                                                                                                               District of New Jersey, Trenton Division

                                                                   IN RE:                                                                                  Case No.
                                                                   American Center for Civil Justice, Inc.                                                 Chapter 11
                                                                                                             Debtor(s)

                                                                                                             VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: March 23, 2018                      Signature: /s/ Elie Perr
                                                                                                                          Elie Perr, President                                                 Debtor



                                                                   Date:                                     Signature:
                                                                                                                                                                                   Joint Debtor, if any
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     American Center for Civil Justice Religi
     125 Half Mile Rd Ste 200
     Red Bank, NJ 07701-6749


     Avi Elishis
     68 Westminster Ave
     Bergenfield, NJ 07621-3916


     Chad Holland
     371 Patrick St Apt 11D
     Clarksville, TN 37040-2970


     Cielito Valencia
     1 Locust St
     Highland Falls, NY        10928-1209


     Cullen Dykman, LLP
     100 Quentin Roosevelt Blvd
     Garden City, NY 11530-4874


     Diamond Reporting
     16 Court St
     Brooklyn, NY 11241-0102


     Diana Compuzano
     158 W 84th St Apt 2A
     New York, NY 10024-4625
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     DLA Piper
     6225 Smith Ave
     Baltimore, MD 21209-3626


     Donna Marie Holland
     578 Ratchford Dr
     Clarksville, TN 37042-6260


     Eli Ezer Perr
     63 Hedge Dr
     Lakewood, NJ 08701-2424


     Estate of Curtis Taylor, deceased
     c/o Maria Taylor
     303 Willow Oaks Blvd
     Hampton, VA 23669-1531


     Gerald Welsh
     38695 SE Trout Creek Rd
     Corbett, OR 97019-8700


     Gregg Salzman
     10 Tremblay Rd
     East Brunswick, NJ        08816-4563


     Hon. Joseph Covello
     330 Old Country Rd Ste 103
     Mineola, NY 11501-4143
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     James Holland
     241 Military Rd
     Herndon, KY 42236-8301


     Joshua Ambush
     600 Reisterstown Rd
     Pikesville, MD 21208-5104


     Joyce Louis Leydet Brewer
     3A Golden Hill Rd
     Lenox Dale, MA 01242


     Koffsky Schwalb, LLC
     349 5th Ave Ste 733
     New York, NY 10016-5019


     Livingston Howe
     747 3rd Ave
     New York, NY 10017-2803


     Loeb & Loeb, LLP
     901 New York Ave NW Ste 300
     Washington, DC 20001-4432


     Lourdes L. Morena Ledon
     2900 Carr 834 Villa
     Guaynabo, PR 00971-9312
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     Luz Southard
     2302 Vialoux Dr
     Corpus Christi, TX        78418-5417


     Maria Taylor
     303 Willow Oaks Blvd
     Hampton, VA 23669-1531


     Michael Engelberg
     75 Woodmere Blvd S
     Woodmere, NY 11598-1737


     Michael Welsh
     30 Rena St SW
     Grand Rapids, MI       49507-1520


     Neal Sher
     115 E 92nd St # 7F
     New York, NY 10128-1688


     Paul A. Blais
     6 Hatteras Lndg
     Hampton, VA 23669-1555


     Professor Dan Sarooshi
     Essex Court Chambers
     24 Lincoln's End Fields
     London, UK WC2A -3EG
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     Professor Roy D. Simon
     205 W End Ave Apt 8N
     New York, NY 10023-4819


     Richard Paul Brewer
     64 Ledgewood Dr
     Falmouth, ME 04105-1812


     Robert Tolchin
     111 Livingston St Ste 1928
     Brooklyn, NY 11201-5083


     Sonya T. Broadway
     401 Westwood Rd
     Angleton, TX 77515-7435


     Steven Wolfe
     1112 S Manitou Ave
     Boise, ID 83706-3256


     Tory's LLP
     79 Wellington St W Ste 3000
     Toronto, ON M5K-1N2


     Weinreb Law Firm, PLLC
     1225 Franklin Ave Ste 325
     Garden City, NY 11530-1693
